      Case 2:10-cr-00299-WBS Document 353 Filed 01/07/14 Page 1 of 3


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 3
     Attorney for defendant
 4   SCOTT PETERSON

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 8
                          UNITED STATES DISTRICT COURT
 9
                         EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,            No.   10-CR-0299 WBS
12
                  Plaintiff,
13
          v.                              STIPULATION AND [PROPOSED] ORDER
14                                        TO CONTINUE J&S
     SCOTT PETERSON,
15
                  Defendant.
16

17        The defendant, Scott Peterson, through his undersigned

18   counsel and the United States, through its undersigned counsel,

19   hereby stipulate and request that judgment and sentencing,

20   currently set for Monday, January 27, 2014 at 9:30 am, be vacated

21   and continued until Monday, March 10, 2014 at 9:30 am.            USPO

22   Lutke has been informed and has no objection.

23        A continuance is necessary to provide counsel time for

24   additional discussions with his client and AUSA Lee regarding the

25   plea agreement and sentencing issues.

26        The parties also stipulate and request that the pre-sentence

27   report schedule be modified as follows:

28        Judgment and Sentencing date:                 March 10, 2014
                                         1
      Case 2:10-cr-00299-WBS Document 353 Filed 01/07/14 Page 2 of 3


 1         Reply or statement of non-opposition:        March 3, 2014

 2         Motion for correction:                       February 24, 2014

 3         Final PSR:                                   February 18, 2014

 4         Counsel’s written objections

 5         to the PSR:                                  February 10, 2014

 6         I, William E. Bonham, the filing party, have received

 7   authorization from AUSA Justin Lee to sign and submit this

 8   stipulation and proposed order on his behalf.

 9         Accordingly, the defense and the United States stipulate and

10   request that judgment and sentencing for defendant, Scott

11   Peterson should be continued until Monday, March 10, 2014 at 9:30

12   am.

13   Dated: January 3, 2014                  BENJAMIN B. WAGNER
                                             United States Attorney
14

15                                           By:/s/ WILLIAM BONHAM for
                                             JUSTIN LEE
16                                           Assistant U.S. Attorney

17
     Dated: January 3, 2014                  By:/s/ WILLIAM BONHAM for
18                                           WILLIAM BONHAM
                                             Counsel for defendant
19                                           Scott Peterson
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      Case 2:10-cr-00299-WBS Document 353 Filed 01/07/14 Page 3 of 3


 1                                     ORDER

 2        IT IS SO ORDERED.     Judgment and sentencing currently set for

 3   Monday, January 27, 2014 is vacated and continued to Monday,

 4   March 10, 2014. It is further ordered that the pre-sentence

 5   report schedule is modified as follows:

 6
          Judgment and Sentencing date:                 March 10, 2014
 7
          Reply or statement of non-opposition:         March 3, 2014
 8
          Motion for correction:                        February 24, 2014
 9
          Final PSR:                                    February 18, 2014
10
          Counsel’s written objections
11
          to the PSR:                                   February 10, 2014
12
     Dated:   January 6, 2014
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